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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,         )
                                   )
      Plaintiff,                   )
                                   )
                  v.               ) Civil Action No. 1:04-cv-00798 (PLF/GMH)
                                   )
                                   )
 ALL ASSETS HELD AT BANK JULIUS )
 BAER & COMPANY, LTD., GUERNSEY    )
 BRANCH, ACCOUNT NUMBER 121128, IN )
 THE NAME OF PAVLO                 )
 LAZARENKO, LAST VALUED AT         )
 APPROXIMATELY $2 MILLION IN )
 UNITED STATES DOLLARS, ET AL.,    )
                                   )
      Defendants.                  )

       MOTION FOR PRO HAC VICE ADMISSION OF NATHAN M BUCHTER

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, Jed M. Silversmith of the law firm of Blank Rome LLP respectfully moves for an order

of this Court admitting pro hac vice Nathan M. Buchter as counsel to represent Claimant, Pavel

Lazarenko, in the above-captioned matter.

       1.     Jed M. Silversmith is a partner of the law firm of Blank Rome LLP, One Logan

Square, 130 N. 18th Street, Philadelphia, PA, 19103. He is a member in good standing with the

Bar of this Court, and represents Pavel Lazarenko in the above-referenced matter. The firm’s

telephone number is (215) 569-5500.

       2.     Nathan M. Buchter is an attorney with the law firm of Fox Rothschild LLP. He

also represents Pavel Lazarenko.

       3.     Nathan M. Buchter is admitted to practice law in the Commonwealth of

Pennsylvania and the state of New Jersey. I am a member in good standing of both bars. I am
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also admitted to practice before United States District Court for the Eastern District of

Pennsylvania and District of New Jersey.

       4.      Nathan M. Buchter has never been disciplined by any state bar. He has not been

denied admission to the courts of any state or to any federal court. He has no disciplinary

proceedings or criminal matters pending against him.

       5.      Nathan M. Buchter does not engage in the practice of law from an office located in

the District of Columbia. He is not a member of the District of Columbia Bar and does not have

an application for membership pending with the District of Columbia Bar. He has not previously

applied to this court for pro hac vice admission.

       6.      Nathan M. Buchter is familiar with the local rules of this District and will comply

with them.

       7.      Attached to this motion is the Declaration of Nathan M. Buchter.

       WHEREFORE, the undersigned respectfully requests that the Court grant this motion and

admit Nathan M. Buchter pro hac vice in this matter.

                                              Respectfully submitted,



                                           By: /s/ Jed M. Silversmith
                                               Jed M. Silversmith (D.D.C. Bar No. PA0055)
                                               BLANK ROME LLP
                                               One Logan Square, 130 North 18th Street
                                               Philadelphia, PA 19103
                                               (215) 569-5500
                                               jsilversmith@blankrome.com
                                               Attorney for Claimant, Pavel Lazarenko




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,         )
                                   )
      Plaintiff,                   )
                                   )
                  v.               ) Civil Action No. 1:04-cv-00798 (PLF/GMH)
                                   )
                                   )
 ALL ASSETS HELD AT BANK JULIUS )
 BAER & COMPANY, LTD., GUERNSEY    )
 BRANCH, ACCOUNT NUMBER 121128, IN )
 THE NAME OF PAVLO                 )
 LAZARENKO, LAST VALUED AT         )
 APPROXIMATELY $2 MILLION IN )
 UNITED STATES DOLLARS, ET AL.,    )
                                   )
      Defendants.                  )

                       DECLARATION OF NATHAN M BUCHTER

       I, Nathan M. Buchter. declare as follows:
       1.      I am over 18 years of age and competent to testify herein.

       2.      I am admitted to practice law in the Commonwealth of Pennsylvania and the state

of New Jersey. I am a member in good standing of both bars. I am also admitted to practice before

United States District Court for the Eastern District of Pennsylvania and District of New Jersey.

3.     I have never been disciplined by any state bar. I have not been denied admission to the

courts of any state or to any federal court. I have no disciplinary proceedings or criminal matters

pending against me.

4.     I do not engage in the practice of law from an office located in the District of Columbia. I

am not a member of the District of Columbia Bar and do not have an application for membership

pending with the District of Columbia Bar. I have not previously applied to this court for pro hac

vice admission.



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       5.      I am familiar with the local rules of this District and will comply with them.

I declare under penalty of perjury that the foregoing is true and correct.



                                                      /s/ Nathan M. Buchter
Dated: March 28, 2019




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this day, I electronically filed the foregoing document with the

clerk of the court for the U.S. District Court for the District of Columbia, using the electronic case

filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”

to the attorneys of record who have consented in writing to accept this Notice as service of this

document by electronic means. I also certify that parties not so noticed have been served in

accordance with Fed. R. Civ Pr. Pr. 5(d).



                                                      /s/ Jed S. Silversmith
Dated: March 28, 2019
